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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Mark Anderson

      v.                                       No. 19-cv-109-SM

Trustees of Dartmouth College



                          CLERK’S CERTIFICATE TO
                         CIRCUIT COURT OF APPEALS

     I, Lianne Wagner, Deputy Clerk of the United States District
Court for the District of New Hampshire, do hereby certify that the
following documents constitute the record on appeal to the First
Circuit Court of Appeals:

      DOCUMENTS NUMBERED: 72 through 76

     The Clerk’s Office hereby certifies the record and docket sheet
available through ECF to be the certified record and the certified
copy of the docket entries.



                                        IN TESTIMONY WHEREOF, I hereunto
                                        set my hand and affix the seal
                                        of said Court, at Concord, in
                                        said District, on this day,
                                        December 14, 2020


                                          '$1,(/-/<1&+, Clerk


                                          By: /s/ Lianne Wagner, Deputy Clerk
                                                Dec 14, 2020




cc:   Mark Anderson, pro se
      Christopher McGown, Esq.
      Elizabeth E. Ewing, Esq.
      Kendall Hoechst, Esq.
      Shapleigh Smith, Jr., Esq.
